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MINUTES OF PROCEEDINGS



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO



                                            Date:              4/17/2020
                                            Judge:             James S. Gwin
                                            Case No.:          4:20-cv-00794
                                            Court Reporter:    S. Perkins



CRAIG WILSON, ET AL.,          )
                               )
      Petitioners,             )
                               )
vs.                            )
                               )
WARDEN MARK WILLIAMS,          )
ET AL.,                        )
                               )
      Respondents.             )




MATTERS CONSIDERED: Status Conference held via video and telephone conference.



TOTAL TIME: 40 minutes                            s/   Kayla Sartschev
                                                  Courtroom Deputy Clerk
